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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        :
                                                 :
            v.                                   :    CASE NO. 1:22-MJ-00226
                                                 :
 KATELYN BARTOW, and                             :
 TRAVIS BARTOW,                                  :    VIOLATIONS:
                                                 :    18 U.S.C. § 1752(a)(1)
                          Defendants.            :    (Entering and Remaining in a Restricted
                                                 :    Building or Grounds)
                                                 :    18 U.S.C. § 1752(a)(2)
                                                 :    (Disorderly and Disruptive Conduct in a
                                                 :    Restricted Building or Grounds)
                                                 :    40 U.S.C. § 5104(e)(2)(D)
                                                 :    (Disorderly Conduct in a Capitol Building
                                                 :    or Grounds)
                                                 :    40 U.S.C. § 5104(e)(2)(G)
                                                 :    (Parading, Demonstrating, or Picketing in
                                                 :    a Capitol Building)


                                    INFORMATION

       The United States Attorney charges that at all relevant times:

                                         COUNT ONE

       On or about January 6, 2021, in the District of Columbia, KATELYN BARTOW and

TRAVIS BARTOW did knowingly enter and remain in a restricted building and grounds, that is,

any posted, cordoned-off, and otherwise restricted area within the United States Capitol and its

grounds, where the Vice President was and would be temporarily visiting, without lawful authority

to do so.

       (Entering and Remaining in a Restricted Building, in violation of Title 18, United States
       Code, Section 1752(a)(1))
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                                         COUNT TWO

       On or about January 6, 2021, in the District of Columbia, KATELYN BARTOW and

TRAVIS BARTOW did knowingly, and with intent to impede and disrupt the orderly conduct of

Government business and official functions, engage in disorderly and disruptive conduct in and

within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and

otherwise restricted area within the United States Capitol and its grounds, where the Vice President

was and would be temporarily visiting, when and so that such conduct did in fact impede and

disrupt the orderly conduct of Government business and official functions

       (Disorderly and Disruptive Conduct in a Restricted Building, in violation of Title 18,
       United States Code, Section 1752(a)(2))


                                        COUNT THREE

       On or about January 6, 2021, in the District of Columbia, KATELYN BARTOW and

TRAVIS BARTOW willfully and knowingly engaged in disorderly and disruptive conduct within

the United States Capitol Grounds and in any of the Capitol Buildings with the intent to impede,

disrupt, and disturb the orderly conduct of a session of Congress and either House of Congress,

and the orderly conduct in that building of a hearing before or any deliberation of, a committee of

Congress or either House of Congress.

       (Violent Entry and Disorderly Conduct in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(D))

                                         COUNT FOUR

       On or about January 6, 2021, in the District of Columbia, KATELYN BARTOW and

TRAVIS BARTOW willfully and knowingly paraded, demonstrated, and picketed in any United

States Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))

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                                 Respectfully submitted,

                                 MATTHEW M. GRAVES
                                 United States Attorney
                                 D.C. Bar No. 481052




                           By:   /s/ Andrew S. Haag_
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